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                          Exhibit A
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From:             Glenn, Abbey M.
To:               Wong, Caroline A.
Cc:               Armbrust, Sheila; Boran, Christopher
Subject:          RE: Agrawal v. Musk – motion to re-open discovery
Date:             Thursday, October 3, 2024 9:48:46 AM


Caroline,

That is disappointing to hear, and we disagree with your characterization of Defendants’ position as
to discovery and as represented in the joint case management statement, which culminated from
our sincere effort to reach a discovery compromise. We never agreed that full discovery on the
502(a)(1)(B) claims should proceed pending a ruling on our motion to dismiss, particularly given the
parties’ divergent views on the scope of discovery. Judge Chesney rejected both parties’ discovery
proposals and ordered a complete stay. Despite this, we proposed a reasonable compromise for
limited discovery below—including an offer to confer further if, after such discovery, Plaintiffs
believe lifting the stay is necessary—which you have rejected without offering an alternative. This is
the same pattern we faced in connection with the joint case management statement, where
Plaintiffs proposed broad discovery, Defendants disagreed but proposed a compromise, and
Plaintiffs rejected it out of hand without further compromise efforts.

We also disagree with your characterization of the privileged documents. As explained during the
administrative claims process, the meet and confer process, and in the joint statement, these
documents are not subject to the fiduciary exception or discoverable, in part because the severance
plans are top hat plans exempt from ERISA’s fiduciary provisions (and, in turn, the fiduciary
exception to privilege). Defendants have cited authority in support of this position, and Plaintiffs
have never offered any contrary authority. Even so, we proposed below a reasonable process
whereby we would produce these documents subject to reasonable waiver protections. Again,
Plaintiffs have rejected that offer, even though it would obviate any need for motion practice
Plaintiffs described in their portion of the case management order.

You may represent that Defendants oppose the relief requested in Plaintiffs’ motion.

Thanks,

Abbey M. Glenn
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From: Wong, Caroline A. <caroline.wong@sidley.com>
Sent: Wednesday, October 2, 2024 9:38 PM
To: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher


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<christopher.boran@morganlewis.com>
Subject: RE: Agrawal v. Musk – motion to re-open discovery

[EXTERNAL EMAIL]
Abbey,

Thank you for sending this proposal. We appreciate the thought and detail you put into it, as well as
the shared interest both sides have in conserving resources for the court and the parties through
avoiding motion practice.

That said, Plaintiffs cannot agree to your proposal. Under your proposal, the only materials that
Defendants would be agreeing to produce are administrative record materials that should have
already been provided to our clients – and which are not privileged, given the ERISA fiduciary
exception to attorney-client privilege, contrary to your suggestion below. It’s not reasonable to ask
Plaintiffs to agree to a continued stay of all discovery in exchange for that small concession,
especially when Defendants already agreed in the Joint Case Management Report that discovery
could proceed during the pendency of the partial MTD.

Plaintiffs are going to proceed with filing our motion requesting to proceed with discovery on the
Section 502 claims. We’ll note in our motion that Defendants offered to produce the remaining
materials from the administrative record but otherwise oppose our motion.

Best,
Caroline


CAROLINE A. WONG
Senior Managing Associate

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****************************************************************************************************   ​




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        From: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
        Sent: Monday, September 30, 2024 10:49 AM
        To: Wong, Caroline A. <caroline.wong@sidley.com>
        Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher
        <christopher.boran@morganlewis.com>
        Subject: RE: Agrawal v. Musk – motion to re-open discovery



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  Caroline,

  We have conferred with our client. We believe the parties can reach a compromise as to
  limited discovery without bothering the court with any motion practice on this issue. In
  addition, our proposal, outlined below, would avoid the need for motion practice concerning
  documents that were not produced during the administrative process due to attorney-client
  privilege. Our proposal is as follows:
      · Defendants will voluntarily produce the administrative record for each of the four
           plaintiffs, including producing the completely privileged and partially privileged
           documents identified on the supplemental privilege log provided to the four
           claimants on February 28, 2024. For clarity, this includes producing (i) the
           documents withheld in their entirety on privilege grounds, and (ii) the partially
           privileged documents without redaction for privilege (collectively, the “Privileged
           Documents”).
      · Plaintiffs agree that they will not argue in this litigation or in any other proceeding
           that Defendants’ production of the Privileged Documents effects any waiver of
           privilege beyond the particular Privileged Documents themselves for use in this
           litigation only. Plaintiffs further agree that any Privileged Documents filed with the
           court will be filed under seal and Plaintiffs will not contest the continued sealing of
           those documents.
      · All further discovery remains stayed until the court rules on the motion to dismiss
           and discovery commences in the normal course pursuant to the Federal Rules of
           Civil Procedure.
      · In exchange for this discovery, Plaintiffs will not file a motion to open discovery.
      · Defendants will produce the above-described documents within 30 days of the
           parties’ agreement to the above terms and conditions.

  Not only will the above proposal provide all administrative record documents (including
  those previously withheld on the basis for attorney-client privilege), but it will substantially
  expedite that production and avoid motion practice on the issue of privilege. If, after this
  voluntary production, Plaintiffs still believe there is a need to move the court to lift the
  discovery stay, Defendants agree to confer further at that time.

  Thanks,

  Abbey M. Glenn
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  From: Wong, Caroline A. <caroline.wong@sidley.com>
  Sent: Thursday, September 26, 2024 7:00 PM

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Case 3:24-cv-01304-MMC             Document 70-2           Filed 10/10/24        Page 5 of 8


  To: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
  Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher
  <christopher.boran@morganlewis.com>
  Subject: RE: Agrawal v. Musk – motion to re-open discovery

  [EXTERNAL EMAIL]
  Abbey,

  Could you please let us know defendants’ position on this by 12 PT / 3 ET on Monday (9/30)?
  We plan to file plaintiffs’ motion on Monday evening, at the latest, which means we’ll need
  defendants’ position by then if we’re going to note in the motion whether it is opposed or
  unopposed. If we don’t have a response, we’ll explain in the motion that we conferred and
  that defendants had not yet taken a position by the time of our filing, but I’d rather be able
  to note your clients’ position if we can.

  Thanks,
  Caroline

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  Senior Managing Associate

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  Pronouns: she/her/hers


          From: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
          Sent: Wednesday, September 25, 2024 12:39 PM
          To: Wong, Caroline A. <caroline.wong@sidley.com>
          Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher
          <christopher.boran@morganlewis.com>
          Subject: RE: Agrawal v. Musk – motion to re-open discovery

          Thanks for that additional information, Caroline. We’ll confer with our client and get
          back to you shortly.

          Abbey M. Glenn
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          +1.202.739.3001
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          From: Wong, Caroline A. <caroline.wong@sidley.com>
          Sent: Wednesday, September 25, 2024 8:12 AM

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       To: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
       Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher
       <christopher.boran@morganlewis.com>
       Subject: RE: Agrawal v. Musk – motion to re-open discovery

       [EXTERNAL EMAIL]
       Hi Abbey,

       We would seek discovery on (i) the administrative record, (ii) conflicts of interest,
       and (iii) procedural irregularities in the claims administration process. We’d start
       with document requests and other written discovery. Later on we will also seek
       depositions, but it probably makes sense to hold off on any depositions until after
       we have a ruling on the partial MTD, so that no one would have to be deposed twice.

       I know the parties might not agree on the scope of what falls into those three
       categories (e.g., what is included in the administrative record, etc.). But as a starting
       point, I’m hoping we can agree high-level that those categories are appropriate
       topics for discovery under Abatie, and that it makes sense to get the ball rolling. The
       likelihood of scope disputes is probably a good reason to get started sooner rather
       than later anyway, so that the parties have time to work those out and we’re not all
       too jammed up toward the end of the discovery schedule.

       We’re still available today 11-12 CT / 12-1 ET if you’d like to discuss.

       Thanks,
       Caroline


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       Senior Managing Associate

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               From: Glenn, Abbey M. <abbey.glenn@morganlewis.com>
               Sent: Tuesday, September 24, 2024 4:16 PM
               To: Wong, Caroline A. <caroline.wong@sidley.com>
               Cc: Armbrust, Sheila <sarmbrust@sidley.com>; Boran, Christopher
               <christopher.boran@morganlewis.com>
               Subject: RE: Agrawal v. Musk – motion to re-open discovery

               Hi Caroline,

               Nice to hear from you. To help us consider your proposal, can you let us


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             know exactly what discovery you propose would take place at this juncture,
             while our motion to dismiss is pending, relating to plaintiffs’ section 502(a)
             (1)(B) claims? During the process of drafting the joint case management
             statement and at the conference with Judge Chesney, the parties expressed
             very different views on the scope of discovery relating to these claims, so
             we’d like to understand precisely what you’re proposing.

             Thanks,

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             +1.202.739.3001
             abbey.glenn@morganlewis.com | www.morganlewis.com




             From: Wong, Caroline A. <caroline.wong@sidley.com>
             Sent: Monday, September 23, 2024 4:52 PM
             To: Boran, Christopher <christopher.boran@morganlewis.com>; Glenn,
             Abbey M. <abbey.glenn@morganlewis.com>
             Cc: Armbrust, Sheila <sarmbrust@sidley.com>
             Subject: Agrawal v. Musk – motion to re-open discovery

             [EXTERNAL EMAIL]
             Chris and Abbey,

             I hope you both had a great weekend. I’ve joined the Sidley team
             representing plaintiffs in the Agrawal v. Musk case. I look forward to working
             with you on this.

             Plaintiffs plan to file a motion to re-open discovery, as we think
             circumstances have meaningfully changed since Judge Chesney sua sponte
             stayed discovery in June pending her ruling on defendants’ partial MTD. In
             particular, since then, the MTD hearing has been vacated, and significant
             time has now passed with no progress on discovery. We think it makes sense
             for the parties to get started on discovery on the Section 502(a)(1)(B) claims
             in particular, since those aren’t affected by the partial MTD and the parties
             will likely need time to work through discovery on those claims and related
             disputes. We hope defendants are amenable to that, given their prior
             agreement in the parties’ joint case management statement to proceeding
             with discovery on the Section 502 claims during the pendency of defendants’
             partial MTD.




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             May we represent in our motion that defendants are unopposed to re-
             opening discovery at this time as to the Section 502 claims? Let us know if
             you’d like to discuss. We are available tomorrow at 4:30 CT, or Wednesday
             at 11:30am-1pm CT. If those windows don’t work, please let us know a
             couple of others this week that might.

             Best,
             Caroline


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